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Counsel for Nobuaki Kobayashi, In
His Capacities as the Bankruptcy
Trustee and Foreign Representative
and Trustee of the Second Civil
Rehabilitation Proceeding and
Proposed Foreign Representative of
MtGox Co., Ltd., a/k/a/ MtGox KK

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


In re:                                       Chapter 15

MtGox Co., Ltd. (a/k/a MtGox KK),            Case No. 14-31229-sgj-15

          Debtor in a Foreign Proceeding.


  FOREIGN REPRESENTATIVE’S STATEMENT PURSUANT TO 11 U.S.C. § 1515(C)
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        Petitioner Nobuaki Kobayashi (the “Foreign Representative”) in his capacities as the bankruptcy

trustee and foreign representative of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”) and as the court-

appointed trustee and duly-authorized foreign representative of the Debtor, as a debtor in a civil

rehabilitation proceeding under Japanese law (the “Second Civil Rehabilitation Proceeding”), recently

commenced and currently pending before the Twentieth Civil Division of the Tokyo District Court, Japan

(the “Tokyo Court”), by and through his undersigned U.S. counsel, hereby states as follows:

        1.      The Debtor is currently subject to an ancillary foreign proceeding pending in Canada,

proceeding under the caption: In the matter of MtGox Co., LTD., the DEBTOR IN A CIVIL

REHABILITATION PROCEEDING UNDER Civil Rehabilitation Act of Japan, Act No. 225 of 1999

BEFORE the Tokyo District Court TWENTIETH Civil Division, Ontario Superior Court of Justice

(Commercial List), Court File No. CV-14-10709-00CL.



Dated: Dallas, Texas                                FOLEY & LARDNER LLP
       October, 25, 2018

                                                    /s/ Marcus A. Helt
                                                    Marcus A. Helt (TX 24052187)
                                                    Thomas Scannell (TX 24070559)
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                                                    - and -

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                                         Counsel for Nobuaki Kobayashi, in His
                                         Capacities as the Bankruptcy Trustee and
                                         Foreign Representative and Trustee of the
                                         Second Civil Rehabilitation Proceeding and
                                         Proposed Foreign Representative of MtGox Co.,
                                         Ltd., a/k/a MtGox KK
